588 F.2d 913
    Wesley WHITE, Mazola White, William Price, WilhelemenaPrice, Clarence White, and Wendell A. Hall, Appellants,andGeorge J. Gruber, Jr., Beatrice F. Gruber, and Thomas L.Gruber, Plaintiffs,v.Gerald A. KELLER, Superintendent, Maryland CorrectionalInstitution, individually and in his officialcapacity, Appellee.
    No. 77-2400.
    United States Court of Appeals,Fourth Circuit.
    Argued Nov. 15, 1978.Decided Dec. 18, 1978.
    
      Mary S. Elcano, Legal Aid Bureau, Inc., Baltimore, Md.  (Richard G. Fishman, Legal Aid Bureau, Inc., Baltimore, Md., on brief), for appellants.
      Henry J. Frankel, Asst. Atty. Gen.  (Francis B. Burch, Atty. Gen. of Maryland, Baltimore, Md., on brief), for appellee.
      Before WINTER and PHILLIPS, Circuit Judges, and HOFFMAN,* Senior District Judge.
      PER CURIAM:
    
    
      1
      Plaintiffs instituted a class action under 42 U.S.C. § 1983 for injunctive relief and damages alleging the invalidity of suspension of a prisoner's future visiting rights for a limited period of time when he is found in possession of contraband (drugs, money or other prohibited articles) immediately following a visit.  It was contended that prisoners and members of their family and designated friends have a first amendment right of visitation which was unduly limited since punishment for smuggling and receiving contraband and prevention of future smuggling could be accomplished by less drastic means.  Additionally, those of the plaintiffs who wish to visit prisoners assert that they have a right to a hearing which was denied them before their rights of visitation may be restricted.
    
    
      2
      In a thorough and carefully considered opinion, the district court granted summary judgment to defendant, the superintendent of the correctional institution.  We think its decision correct and we affirm on its memorandum opinion.
    
    
      3
      AFFIRMED.
    
    
      
        *
         Walter E. Hoffman, Senior United States District Judge for the Eastern District of Virginia, sitting by designation
      
    
    